                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

MIKE BRINKMAN,

     Plaintiff,

v.                                                 CASE NO: 8:20-cv-2453-T-33AAS

EQUIFAX INFORMATION SERVICES LLC,
and ACCOUNT RESOLUTION SERVICES, LLC,

  Defendants.
_____________________________/

                                         STATUS REPORT

          The Plaintiff, MIKE BRINKMAN, by and through his counsel, hereby submits

this status report as required by the Court’s Order for Plaintiff to file a status report on his

efforts to perfect service on Defendant, ACCOUNT RESOLUTION SERVICES, LLC

[Doc. 13], and in support hereof states as follows:

          1.      On October 21, 2020, Plaintiff filed his complaint against Defendants and

                  attached his proposed summons.

          2.      On October 21, 2020, the proposed summons was returned for service in

                  which Plaintiff sent associating documents to Process Server on October

                  22, 2020.

          3.      On October 28, 2020, Plaintiff was notified of the Process Server’s first

                  attempt stating Defendant’s agent was no longer receiving service at the

                  proposed address and directed the Process Server to serve at a different

                  location.
       4.     On November 5, 2020, Plaintiff received an automated message from the

              Process Server confirming Defendant, Account Resolution Services, LLC,

              was served at 9:03 a.m.

       5.     On November 8, 2020, Plaintiff was provided an unsigned affidavit from

              the Process Server showing service was completed.

       6.     On November 10, 2020, Plaintiff reached out to the Process Server

              requesting a signed Return of Service to be filed with the Court.

       7.     Plaintiff is still currently waiting to receive a signed Return of Service from

              the Process Server.

Respectfully submitted,
                                                     /s/Octavio Gomez_____________
                                                     Octavio Gomez, Esq.
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                                                     Attorneys for Plaintiff

                             CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on November 11, 2020, a true and correct copy of the

above and foregoing has been filed with the Court using the Court’s CM/ECF system,

will cause a copy to be sent to all attorneys.



                                                     /s/ Octavio Gomez
                                                     Octavio Gomez, Esquire
                                                     Florida Bar No.: 0338620

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